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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


JOSEPH A. DAOU and KAREN M. DAOU,

                  Plaintiff,

v.
                                         Case No. 1:20-cv-4438-DLC
BLC BANK, S.A.L., CREDIT LIBANAIS,
S.A.L., AL-MAWARID BANK, S.A.L., and
BANQUE DU LIBAN,

                  Defendants.



      DEFENDANTS BLC BANK, S.A.L., AND CREDIT LIBANAIS, S.A.L.’S
        MEMORANDUM OF LAW IN OPPOSITION TO PLAINTIFFS’
             MOTION FOR AN ORDER OF ATTACHMENT




                                                                ST
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                                       Credit Libanais, S.A.L.
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       Defendants BLC Bank, S.A.L. (“BLC”), and Credit Libanais, S.A.L. (“CL,” together the

“Banks”), by and through their undersigned attorneys, respectfully submit this memorandum of

law in opposition to the motion for an order of attachment (“Motion”) filed by Joseph and Karen

Daou (“Plaintiffs”).

                                 PRELIMINARY STATEMENT

       Plaintiffs’ Motion should be denied. Plaintiffs fall well-short of carrying their heavy

burden of establishing a right to this extraordinary and harsh remedy. Plaintiffs fail to satisfy the

elements for attachment under New York law:

       First, Plaintiffs fail to plead any claim for monetary relief, as set forth in the Banks’ motion

to dismiss Plaintiffs’ complaint (see ECF No. 44).

       Second, Plaintiffs have not and cannot show a probability of success on the merits. Beyond

the lack of substantive merit to Plaintiffs’ claims, Plaintiffs fail to establish personal jurisdiction

over the Banks. They also fail to show that this is the proper forum for this dispute. As established

in the Banks’ motion to dismiss the Plaintiffs’ complaint (ECF No. 44), it is not.

       Third, Plaintiffs cannot demonstrate any ground for attachment under New York’s Civil

Practice Law and Rules (“CPLR”) § 6201. They offer proof of neither (a) the need for the drastic

action of an order of attachment, as required by § 6201(1), nor (b) any intent to defraud or frustrate

a judgment or actual conduct evincing fraud or frustration, as required by § 6201(3).

       While Plaintiffs fail to satisfy the statutory elements for attachment, even had they, the

Court should exercise its discretion to deny the Motion because attachment would impact and

disrupt a Lebanese banking system that is already under extreme stress and unduly prioritize

Plaintiffs over other of the Banks’ customers and creditors.

       Finally, Plaintiffs do not make the requisite showing for expedited discovery.




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           The Court should deny Plaintiffs’ Motion, along with Plaintiffs’ request for expedited

discovery.1

                                                    ARGUMENT

I.         STATEMENT OF FACTS

           The relevant facts are contained in the Banks’ Memorandum of Law in Support of Their

Motion to Dismiss the Plaintiffs’ Complaint and the Declaration of Elias Joseph Abimrad (Ex. 1),

the Declaration of Bassam Farid Hassan (Ex. 2), the Declaration of Patrick Soumrani (Ex. 15), and

the Declaration of Nasri Antoine Diab (Ex. 16).2 See ECF Nos. 43–45.

           Plaintiffs filed suit on June 10, 2020, against the Banks along with Al-Mawarid Bank,

S.A.L.’s (“AM Bank”) and Banque du Liban, the Central Bank of Lebanon (“Central Bank”).

Compl., ECF No. 1. On July 22, 2020, the parties filed a joint-letter motion reflecting the Banks’

and defendant Am Bank’s agreement to accept service of the Complaint as part of a stipulation

with Plaintiffs on a briefing schedule for the Banks’ and AM Bank’s anticipated motions to

dismiss. ECF Nos. 16, 17. On July 24, 2020, the Court ordered a briefing schedule for these

motions to dismiss, with the Banks’ moving brief due on October 9, 2020. ECF No. 23. Six days

later, on July 30, 2020, Plaintiffs moved for an order of prejudgment attachment against the Banks

and AM Bank’s United States assets and for expedited discovery relating to those assets. ECF

Nos. 24–27. The Court ordered sua sponte that the opposition to the Motion should be filed along

with the anticipated motions to dismiss on October 9, 2020. ECF Nos. 23, 24.




1
 The Banks incorporate the arguments contained in AM Bank’s Opposition to Plaintiffs’ Motion for Attachment (ECF
No. 42) and its Memorandum of Law in Support of its Motion to Dismiss (ECF No. 41-1), as applicable.
2
    Exhibits cited “Ex.” are attached to the Declaration of Jeffrey D. Rotenberg, ECF No. 45, filed October 9, 2020.



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II.      PLAINTIFFS FAIL TO CARRY THEIR HEAVY BURDEN OF SHOWING THAT
         PREJUDGMENT ATTACHMENT IS WARRANTED

         Attachment is an extraordinary and harsh remedy that is not “lightly granted.” Gen. Textile

Printing & Processing Corp. v. Expromtorg Int’l Corp., 862 F. Supp. 1070, 1073 (S.D.N.Y.

1994).3 That is because attachment “‘deprives the defendant of the use and enjoyment of property

at an extremely embryonic stage of the litigation[,] . . . long before the defendant’s liability to the

plaintiff is established.’” Buy This, Inc. v. MCI Worldcom Commc’ns, Inc., 178 F. Supp. 2d 380,

383 (S.D.N.Y. 2001) (quoting Weinstein, et al., 12 New York Civil Practice: CPLR, ¶ 6201.02 (2d

ed. 2008)); accord Nat’l Audubon Soc., Inc. v. Sonopia Corp., 2009 WL 636952, at *2 (S.D.N.Y.

Mar. 6, 2009). Given the harshness of the remedy, plaintiffs “bear[] a heavy burden in attempting

to establish [their] right to an attachment.” Skyline Steel, LLC v. PilePro, LLC, 2015 WL 5076695,

at *2 (S.D.N.Y. Aug. 27, 2015).4

         A plaintiff seeking an order of attachment must show “that (1) it has stated a claim for a

money judgment; (2) it has a probability of success on the merits;” (3) it has demonstrated one or

more grounds for attachment under CPLR § 6201; “and (4) the amount demanded from the

defendant is greater than the amount of all counterclaims known to plaintiff.” DLJ Mortg. Cap.,


3
 Plaintiffs’ cases agree: “[a]ttachment is an extraordinary remedy” and “courts are leery of granting such harsh relief.”
See, e.g., Fratelli Italiani, LLC v. Mironova, 2019 WL 3759160, at *7 (S.D.N.Y. Apr. 11, 2019) (internal citations
and quotations omitted); Herzi v. Ateliers De La Haute-Garonne, 2015 WL 8479676, at *2 (S.D.N.Y. Oct. 13, 2015)
(prejudgment attachment a “drastic remedy”).
4
  The law is “well established” that the attachment statute must be “strictly” construed against the Plaintiffs contrary
to what they argue. See Buy This, Inc., 178 F. Supp. 2d at 383 (“[I]t is well established that the New York attachment
statutes are construed strictly against those who seek to invoke the remedy.”); Silverman v. Miranda, 116 F. Supp.3d
289, 310–311 (S.D.N.Y. 2015) (“[b]ecause attachment is a harsh remedy, the statute must be strictly construed in
favor of those against whom it may be applied.”) (quotation omitted) (citing cases); accord Skyline Steel, 2015 WL
5076695, at *2; Swift Splash Ltd. v. Rice Corp., 2010 WL 3767131, at *2 (S.D.N.Y. Sept. 27, 2010); DLJ Mortg.
Capital, 594 F. Supp. 2d at 319; Wen v. CT & TC Corp., 2017 WL 59082, at *2 (E.D.N.Y. Jan. 5, 2017); Grafstein v.
Schwartz, 100 A.D.3d 699, 699 (2d Dep’t 2012). Plaintiffs’ cases say the same. See e.g., Adler v. Solar Power, Inc.,
2019 WL 2210661, at *3 (S.D.N.Y. May 22, 2019) (“party seeking . . . attachment bears a heavy burden . . . because
New York attachment statutes are construed strictly against those who seek to invoke the remedy.”) (internal
alterations and quotation omitted); Mischon de Reya New York LLP v. Grail Semiconductor, Inc., 2011 WL 6957595,
at *3 (S.D.N.Y. Dec. 28, 2011) (same); Elton Leather Corp. v. First Gen. Res. Co., 138 A.D.2d 132, 135 (1st Dep’t
1988) (same).


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Inc. v. Kontogiannis, 594 F. Supp. 2d 308, 318–319 (E.D.N.Y. 2009) (quoting CPLR §§ 6212,

6201). Plaintiffs fail nearly across the board in making the “particularly daunting” showing

required to satisfy these elements. See Buy This, Inc., 178 F. Supp. 2d at 383. The Motion should

be denied.

       A.      Plaintiffs Fail To State A Claim For Money Judgment

       The threshold for attachment is a claim for monetary relief. See Ally Bank v. Reimer, 2010

WL 446025, (E.D.N.Y. Jan. 29, 2010), R. & R. adopted 2010 WL 1163268 (E.D.N.Y. Mar. 12,

2010) (where “papers clearly establish that the plaintiff must ultimately be defeated” no “cause of

action exists”). Plaintiffs have not pleaded such a claim. For the Motion, Plaintiffs rely on six of

the Complaint’s 12 causes of action: conversion, unjust enrichment, Florida Statute § 673.4121,

and the three counts of breach of contract (one against each of the defendant commercial banks).

Pls.’ Br., ECF 25, at 9. The Banks’ motion to dismiss the Complaint, filed contemporaneous with

the instant opposition brief, demonstrates that none of these claims are viable as a matter of law.

See ECF No. 44, at Section II(B). For the reasons discussed there and below, Plaintiffs have no

monetary claim against the Banks. The Motion thus fails to get off the starting gate.

       B.      Plaintiffs Fail To Demonstrate Probability Of Success On The Merits

       Beyond pleading a cause of action for money judgment, Plaintiffs must demonstrate

“[p]robability of success on the merits”—“that it is more likely than not that it will succeed on its

claims and must show proof stronger than that required to make a prima facie case.” Musket Corp.

v. PDVSA Petroleo, S.A., 512 F. Supp. 2d 155, 160 (S.D.N.Y. 2007); Pls. Br., ECF No. 25, at 9.

Plaintiffs’ proffer of evidence in support of the Motion is basically the reiteration of the

Complaint’s insufficient allegations. See Pls. Br., ECF No. 25, at 9–12. It follows that by virtue

of their failure to state a claim, Plaintiffs fail to meet the heightened “probability of success”

standard here. The factual evidence and Lebanese legal analysis the Banks offer in opposition to


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the Motion further negates any possibility of Plaintiffs’ prevailing on their claims. See Exs. 1, 2,

15, 16.

          Plaintiffs focus on two untenable bases in support of “the probability of success” of their

claims. First, Plaintiffs contend that they are likely to prevail because the Banks have wrongfully

misappropriated their funds and wrongfully refused transfers of USD outside Lebanon. Pls.’ Br.,

ECF No. 25, at 10. Plaintiffs offer no legal support for this bald assertion. Id. Plaintiffs do not

even say what law applies for purposes of evaluating their claims, let alone how that law supports

what they are claiming. Id. To be sure, Lebanese law governs the conduct of these Lebanese

banks in their dealings with bank customers. ECF No. 44, at Section II(A); Ex. 15, ¶¶ 6–9; Ex.

16, ¶¶ 8–11. Yet, Plaintiffs do not articulate what Lebanese law required of the Banks and how

the Banks violated this law in their dealings with Plaintiffs. See Pls.’ Br., ECF No. 25, at 10. Nor

do Plaintiffs discuss the parties’ agreements and what these agreements say or do not say about

Plaintiffs’ rights and privileges as customers of the Banks. See id. Without this basic showing,

Plaintiffs have not demonstrated any likelihood of success.

          While the Banks bear no burden here, it should be noted that the Banks complied with their

obligations under Lebanese law and the account opening agreements. The Banks had the legal

right to deny requests for international transfer of funds on deposit. Ex. 15, ¶ 15; Ex. 16, ¶¶ 14–

15. The Banks had no legal or contractual obligations to make international transfers. Ex. 1, ¶ 16;

Ex. 2, ¶ 27; Ex. 15, ¶¶ 15–18; Ex. 16, ¶¶ 14–15; see Exs. 3–5. In any event, the Banks may have

been legally and practically precluded from making the requested transfers. See Ex. 16, ¶¶ 17–18.

In addition, under Lebanese law, the Banks’ tender and Plaintiffs’ acceptance of banker’s checks

drawn on the Central Bank was proper. Ex. 15, ¶ 23; Ex. 16, ¶ 22. By these banker’s checks

drawn on the Central Bank, Plaintiffs’ funds are available for deposit by the Plaintiffs in Lebanon.




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Ex. 1, ¶ 18; Ex. 16, ¶¶ 20–21.5 By Plaintiffs’ acceptance of these checks, the Banks satisfied their

obligations to Plaintiffs. Ex. 15, ¶ 23; Ex. 16, ¶ 22.

         Second, Plaintiffs argue that the Banks are subject to personal jurisdiction. Pls.’ Br., ECF

No. 25, at 10. Plaintiffs are wrong, as described in the Banks’ motion to dismiss. ECF No. 44, at

Section I(A). Plaintiffs’ brief discussion of personal jurisdiction in the Motion confirms the Banks’

analysis. The conduct alleged in the terrorism and money laundering cases Plaintiffs cite (see Pls.’

Br., ECF No. 25, at 11), involving multiple alleged criminal actors and global conspiracies, is

fundamentally distinct from the few routine transactions that passed through correspondent

accounts here. See ECF No. 44, at Section I(A). Plaintiffs do not and cannot allege that any one

of the few correspondent account transactions with the Banks between 2016 and 2018 was illegal

or improper (see Daou Decl., ECF No. 27, ¶¶ 22–29; 77–82) or that the correspondent bank

accounts were at the center of any alleged wrongful scheme (indeed, Plaintiffs’ actions

demonstrate how peripheral the correspondent accounts were to any dealings, as they did deposit,

transfer and withdraw money by other means). See, e.g., Ex. 2, ¶ 18. This lawsuit is about how

and where Plaintiffs’ could access funds between October and December 2019, during the

financial and banking situation Lebanon. Unlike in the cases Plaintiffs cite, the correspondent

accounts are merely incidental to the lawsuit. See ECF No. 44, at Section I(A)(1). These cases

provide no support for finding personal jurisdiction over the Banks here.6

         The New York Court of Appeals’ 4-3 decision in Al Rushaid v. Pictet & Cie highlights



5
  Plaintiffs know this. On December 3, 2019, Mr. Daou deposited a Central Bank-drawn banker’s check (withdrawn
from CL) at AM Bank to fund his newly opened account there in the amount of US $5,735,930.00. Ex. 1, ¶ 19; see
AM Br., ECF No. 41-1, at 5 (citing El Khoury Decl. ¶ 29); Daou Decl., ECF No. 27, at ¶ 145.
6
  Additional procedural grounds for dismissal exist apart from want of jurisdiction. The BLC agreements with
Plaintiffs contain a forum selection clause that mandates dismissal. ECF No. 44, at Section I(B)(1). Virtually all the
other forum non conveniens factors also support dismissal of this action in favor of Lebanon. ECF No. 44, at Section
I(B)(2).


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these differences. 28 N.Y.3d 316 (2016). There, the court ruled that a substantial nexus existed

between the defendant bank’s correspondent accounts and the plaintiff’s claims arising from a

money laundering scheme. Id. at 316–317. The court emphasized that the claims “depend[ed]”

on the “transfers of money to the New York correspondent bank as part of the money-laundering

scheme that put the bribes/kickbacks in the hands of the employees” involved in the scheme. The

court explained that “the money laundering could not proceed without the use of the correspondent

bank account,” and that the “scheme . . . designed relied precisely on the existence of bank accounts

in different jurisdictions, through which the money would pass,” and as designed “necessarily

including the use of a New York bank account.” Id. at 327–30. To prevail, the plaintiffs had to

show the actual flow of funds through the New York correspondent accounts on their way from

the payors of the bribes to the recipients of the bribes. Thus, the court found a substantial nexus

between the accounts and the claims.

       Rushaid teaches that to support personal jurisdiction over a foreign bank based on

correspondent accounts, the bank’s New York correspondent accounts must have an integral role

in the wrongful scheme and a direct nexus to the victim’s claims arising from the scheme.

Applying this principle here, given the absence of facts showing the accounts’ integral role and

their required nexus to Plaintiffs’ claims, a New York court should not assert jurisdiction over the

Banks in this foreign dispute based solely on their correspondent accounts.

       C.      Plaintiffs Fail to Demonstrate One or More Grounds For Attachment

       Plaintiff must also demonstrate one or more grounds for attachment under CPLR § 6201.

Plaintiffs’ motion relies on CPLR § 6201(1) and § 6201(3) (see Pls.’ Br., ECF No. 25, at 12, 17),

but Plaintiffs satisfy neither provision. The Motion must be denied for this independent reason.




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               1.      Plaintiffs Fail To Satisfy CPLR § 6201(1)

       Plaintiffs maintain that they need only show “that the defendant is not located in New

York” to satisfy CPLR § 6201(1). (Pls.’ Br., ECF No. 25, at 13 n.1). But residency alone is

inadequate. See Plaintiff Funding Holding, Inc. v. Carrera, 2017 WL 7411183, at *5 (E.D.N.Y.

Feb. 6, 2017) (Plaintiffs failed to satisfy CPLR § 6201(1) where the “sole argument in their brief

addressing whether grounds for attachment exist” under this provision was defendants’ place

residence); VisionChina Media Inc. v. S'holder Representative Servs., LLC, 109 A.D.3d 49, 62

(2013) (that buyers were Chinese corporations was insufficient ground for granting sellers an

attachment; there was no evidence that buyers lacked sufficient assets, or that they would choose

to hide or otherwise dispose of their assets). In fact, “[w]hen attachment is sought pursuant to §

6201(1) to secure a judgment . . . ‘attachment should issue only upon a showing that drastic action

is required for security purposes.’” Weider Health & Fitness v. AusTex Oil Ltd., 2018 WL

8579820, at *12 (S.D.N.Y. Dec. 19, 2018), R. & R. adopted 2019 WL 1324049 (S.D.N.Y. Mar.

25, 2019) (quoting Elliott Assocs., L.P. v. Republic of Peru, 948 F. Supp. 1203, 1214 (S.D.N.Y.

1996)) (internal alterations omitted) (emphasis added); see Standard Steel & Tinplate Corp. v.

Manuel Int’l D.I.S.C. Inc., 1981 WL 6769692, at *1 (S.D.N.Y. Nov. 10, 1981) (“no basis for a

contention that sec. 6201(1) permits attachment in all instances in which the defendant is a foreign

corporation not licensed to do business in New York”).

       Plaintiffs seek attachment to secure a judgment. Pls.’ Br., ECF No. 25, at 12, 18. Thus,

Plaintiffs must show why drastic action is required. The “drastic action” standard requires that

Plaintiffs show “there is reason to believe that Defendants will not satisfy any judgment entered

against them.” Weider Health, 2018 WL 8579820, at *12 (citing Strategic Growth Int’l Inc. v.

RemoteMDx Inc., 2008 WL 4179235, at *7 (S.D.N.Y. Sept. 10, 2008)).                  Plaintiffs must

demonstrate “a real risk of the enforcement of a future judgment.” Meridien Int’l Bank Ltd, v.


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Gov’t of Republic of Liberia, 1996 WL 22338, at *3 (S.D.N.Y. Jan. 22, 1996); Expromtorg, 862

F. Supp. at 1073 (“Generally, this Court has held that attachment for security purposes is only

appropriate when plaintiff will have difficulty enforcing a judgment”). Here, Plaintiffs do not

make this showing and thus fail to justify the drastic remedy of attachment under CPLR § 6201(1);

Standard Steel, 1981 WL 6769692, at *1.

       Plaintiffs hardly attempt to support their request for security by attachment. They offer no

evidence other than a declaration that virtually tracks the Complaint. See Daou Decl., ECF No 27.

Plaintiffs make unsupported claims of “flagrant misconduct” and “financial instability.” Pls.’ Br.,

ECF No. 25, at 16–17. They talk about an inadequately alleged “Ponzi scheme” and “unlawful

pact.” Id. Plaintiffs offer no evidence supporting these claims. At the same time, Plaintiffs do

not and cannot show imminent or past actions by the Banks to place their assets out of the reach

of Plaintiffs. Again, Plaintiffs have been given banker’s checks in the amounts of their deposits

drawn on the Central Bank. They can deposit these checks today in Lebanon (as Mr. Daou did in

funding his AM Bank account). See Ex. 1, ¶¶ 2, 18; Ex. 2, ¶¶ 29–30; Daou Decl., ECF No. 27, at

¶ 145. There is obviously no reason to order attachment when Plaintiffs already have access to

funds in the amounts they seek to attach.

       Plaintiffs identify “political turmoil in Lebanon” as grounds for attachment, relying on a

series of news articles regarding the financial and political situation in Lebanon. See Exs. to Major

Decl. 1–12, 14–24, ECF Nos. 26-1–26-12, 26-14–26-24. This type of generalized claim does not

alter the analysis. For one thing, Plaintiffs cannot connect these assertions to the need for

attachment. And, certainly, Lebanon’s history of and real-time turmoil did not dissuade Plaintiffs

from effectively trading millions of dollars over nearly four years in pursuit of exorbitant interest

rates. See Ex. 7; Ex. 1, ¶¶ 14–15; Ex. 2, ¶¶ 21–22. It did not dissuade Plaintiffs from continuing




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to negotiate higher and higher rates into the fall of 2019. Id. It did not deter Plaintiffs from making

overtures to the Banks about new deposits into December 2019 (which they declined, see Ex. 2, ¶

30) and opening new accounts with at least AM Bank in Lebanon in December 2019. See Daou

Decl., ECF No. 27, ¶¶ 140, 145; Ex. 1, ¶ 19; AM Br. (citing El Khoury Decl. ¶ 29).

       Plaintiffs’ cases confirm that the drastic remedy of attachment is only justified by way of

an evidentiary showing that defendants are imminently poised to or have already altogether

disposed of all or nearly all of their assets—facts that Plaintiffs are unable to establish here. See

Pls.’ Br., ECF No. 25, at 14–16. If anything, these cases confirm the insufficiency of Plaintiffs’

showing here:

       First, in Adler, liability had been established on partial summary judgment, and the

evidence showed defendant’s “standard business practice” of “developing and then disposing of

its main assets . . . and moving the proceeds into the People’s Republic of China, at least partly,

for the purpose of shielding the proceeds from judgment.” 2019 WL 2210661, at **3–4.

       Second in In re Amaranth Natural Gas Commodities Litigation, the defendant was in

essence “seek[ing] to transfer nearly forty percent of its remaining assets to entities from whom

plaintiffs will not be able to recover.” 711 F. Supp. 2d 301, 304, 312 (S.D.N.Y. 2010).

       Third, in Etalon Imob S.R.L. v. Schoenbach, the defendants admitted on the record that the

escrow account that was supposed to hold the plaintiff’s funds had been emptied, inexplicably, of

these funds outside of only $45. 2012 WL 4741595, at n.1 (S.D.N.Y. Oct. 3, 2012).

       Fourth, in In Gem Holdco, LLC v. Changing World Technologies, L.P., the defendant was

actively “forming a new corporate entity” in a possible “attempt[] to transfer assets to a new

company to evade the . . . creditors’ claims,” tax credits at issue belonged to creditors, and the




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party “admitted [a] lack of liquidity” that raised concerns regarding satisfaction of the judgment.

2015 WL 1227936, at *3 (Sup. Ct., N.Y. Cty. Mar. 18, 2015).

         Plaintiffs’ other cases all similarly fail to compel the result Plaintiffs demand.7 Plaintiffs’

cases demonstrate the degree of proof required for the drastic remedy of attachment under CPLR

§ 6201(1) far exceeds Plaintiffs’ showing here, particularly in the face of the Banks’ competing

evidence and the legal analysis required under Lebanese law, which Plaintiffs do not even attempt.

                   2.       Plaintiffs Fail To Satisfy CPLR § 6201(3)

         CPLR § 6201(3) requires that Plaintiffs show that “the defendant, with intent to defraud

his creditors or frustrate the enforcement of a judgment that might be rendered in plaintiff’s favor,

has assigned, disposed of, encumbered or secreted property, or removed it from the state or is about

to do any of these acts.” This provision “has two parts, namely intent to engage in a prohibited act

and the prohibited act itself.” Buy This, Inc., 178 F. Supp. 2d at 382–383. Plaintiffs, as “the

part[ies] moving for the attachment,” “ha[ve] the burden of proving . . . [both] of these . . .

elements” in order to meet its burden under New York law. Id. They establish neither.

         First, as Plaintiffs’ cases affirm:

           Fraud is not lightly inferred, and the moving papers must contain evidentiary
           facts—as opposed to conclusions —proving the fraud . . . Affidavits containing
           allegations raising a mere suspicion of an intent to defraud are insufficient. It
           must appear that such fraudulent intent really existed in the defendant’s mind.



7
 In Samirah & Enung v. Sabhnani, the ground for attachment was CPLR § 6201(4), which Plaintiffs do not and cannot
rely on here. 2010 WL 2629770, at *2 (E.D.N.Y. June 28, 2010). There, the defendants had already been convicted
after a jury trial of forced labor and related crimes, “the Plaintiffs [were] victims of the crimes for which the Defendants
were convicted and the damages they [sought] were allegedly sustained as a result of the Defendants’ criminal
conduct.” Id. As such, the court found attachment warranted, as “each element can be proven conclusively through
previously litigated facts in the criminal trial.” Id. Plaintiffs have no such facts or liability here. Likewise, Mischon
De Reya is not comparable. As Plaintiffs indicate, Mischon De Reya concerned a pending arbitration—not at issue
here—and the court applied a different statute, CPLR § 7502 (not relied on here). 2011 WL 6957595, at *3; Pls.’ Br.,
ECF No. 25, at 15. In applying that different statute, the court applied a different standard (not relevant here). 2011
WL 6957595, at *8. The case is not comparable, though it should be noted that the court discredited the plaintiffs’
conclusory assertion that defendant was poised to imminently transfer assets out of the reach of creditors as mere
“speculation.” Id. at *9.


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Societe Generale Alsacienne de Banque, Zurich v. Flemington Dev. Corp., 118 A.D.2d 769, 772–

773 (2d Dep’t 1986) (internal citations and quotations omitted); see also Reed Smith LLP v. Leed

HR LLC, 156 A.D.3d 420 (1st Dep’t 2017) (attachment warranted where there was “considerable

evidence of a far-reaching fraudulent scheme”) (emphasis added). Neither the Complaint nor the

moving papers offer evidence suggestive of actual intent to defraud or any fraud itself. At best,

Plaintiffs offer speculation and theorizing, as opposed to facts, to support what are simply

conclusory assertions of “circumstances” they allege show fraudulent intent and fraudulent

conduct. See Pls.’ Br., ECF No. 25, at 18.       This speculation and theorizing is contradicted by

documents attached to Plaintiffs’ moving papers. For example, Plaintiffs conclusorily allege that

the Banks “refuse[d] to honor any checks . . . outside of Lebanon” and “Banks simply do not care

about the rule of law or their clients’ rights.” Pls.’ Br., ECF No. 25, at 18. But Plaintiffs’ attach

these checks and each unambiguously shows it is for deposit in Beirut, Lebanon only. See ECF

Nos. 27-5, 27-13, 27-16 (“Payable à Beirut”). Plaintiffs even attach letters that say the same: each

check is available for payment in Lebanon. See ECF Nos. 27-6, 27-14 (“Checks must be presented

at local bank in Lebanon”). Plaintiffs do not—and cannot—explain why the Banks’ issuance of

valid checks to Plaintiffs for deposit in Lebanon constitutes an “intent to defraud or frustrate a

judgment.” See Pls.’ Br., ECF No. 25, at 18. Rather, it shows the Banks’ honored their obligations

to the client in accordance with the parties’ agreements and Lebanese law. See Ex. 15, ¶ 23; Ex.

16, ¶ 22.

       Second, Courts have refused to infer the “danger” of transfer or disposition of assets where

the plaintiffs “point[] to no actual or pending transfers or dispositions of assets that would frustrate

a judgment in favor of [plaintiff] in [the] action by the defendants.” Signal Capital Corp. v. Frank,

895 F. Supp. 62, 64 (S.D.N.Y.1995). Here, Plaintiffs have alleged no actual or pending transfers




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or dispositions of assets that would frustrate a judgment in their favor. And, even if they had

(which they have not), transfer or deposition is insufficient alone to support attachment. See

Computer Strategies, Inc. v. Commodore Bus. Machs., Inc., 105 A.D.2d 167, 173 (1984).

Evidence of wrongful intent is required to transform a transfer or disposition into a basis for an

attachment order. Such evidence is entirely lacking. Accordingly, Plaintiffs have failed to satisfy

their evidentiary burden for attachment on this ground.

III.    THIS COURT SHOULD EXERCISE ITS DISCRETION TO DENY
        ATTACHMENT

        Even if Plaintiffs had satisfied the statutory requirements for attachment (which they have

not), the Court can and should exercise its discretion to deny attachment. “Satisfaction of the

statutory criteria . . . does not guarantee that a court will issue such a relief. ‘[S]uch relief is

discretionary, and since attachment is a harsh remedy, the court must exercise care in its

application.’” Musket Corp., S.A., 512 F. Supp. 2d at 160 (quoting Signal Capital, 895 F. Supp.

at 64); Buy This, Inc., 178 F. Supp. 2d at 383(“[E]ven if [the plaintiff] fulfills its burden of proving

all the [statutory] elements . . . ‘it would still be possible to deny the harsh remedy of attachment,

for attachment is a discretionary remedy.’”) (quoting Thornock v. Kinderhill Corp., 712 F. Supp.

1123, 1132 (S.D.N.Y.1989)); accord Elliott Assocs., 948 F. Supp. at 1211; Expromtorg, 862 F.

Supp. at 1073; Bollenbach v. Haynes, 2018 WL 4278347, at *2 (S.D.N.Y. May 29, 2018); Carrera,

2017 WL 7411183, at *5; Asdourian v. Konstantin, 50 F. Supp. 2d 152, 159 (E.D.N.Y. 1999).

There are a number of reasons why Plaintiffs’ motion should be denied apart from the failure to

satisfy the statutory elements of attachment.

        First, the consequences of an attachment order support denial of this motion. Attachment

would risk disruption of the correspondent banking system and the Banks’ regular business

activities to the detriment of the markets and the Banks’ customers. New York courts have



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exercised their discretion to deny attachment of correspondent accounts on such grounds, despite

satisfaction of the statutory factors. See, e.g., Cargill Fin. Serv. Int'l, Inc. v. Bank Fin. & Credit

Ltd., 896 N.Y.S.2d 317, 318 (1st Dep't 2010) (denying attachment of correspondent accounts

where “[t]he evidence showed that . . . the wholesale attachment of all funds in the accounts would

have interfered with innocent third parties’ access to their money”); Sidwell & Co., Ltd. v.

Kamchatimpex,, 632 N.Y.S.2d 455, 459 (Sup. Ct., N.Y. Cty. 1995) (“If New York permits

correspondent bank accounts to be regularly subject to attachment . . . the entire system of

correspondent banking, in which New York banks play an important role, will be disrupted”). It

is also apparent that attachment would impact and disrupt a Lebanese banking system that is

already under stress. Courts have exercised their discretion to deny attachment where it would

cause undue harm to a nation’s economy. See Elliott Associates, 948 F. Supp. at 1214 (denying

attachment where there were “significant concerns about the consequences of an attachment to . . .

the Peruvian economy”).

       Second, New York Courts recognize that attachment is improper where a creditor is using

the device to obtain priority over other creditors. See Caronia v. Hustedt Chevrolet, Inc., 2009

WL 3615289, at *2 (E.D.N.Y. Oct. 30, 2009). Here, a potential consequence of granting a freeze

order would be to give preferential treatment to the Plaintiffs over other of the Banks’ customers.

And under both New York and Lebanese banking laws, all customer-creditors are required to be

treated on an equal basis. See Ex. 16, ¶¶ 28–29. The Court should not allow Plaintiffs to

improperly obtain a priority over other customers with respect to the Banks’ assets.

IV.    IF ATTACHMENT IS GRANTED, PLAINTIFFS SHOULD BE REQUIRED TO
       POST A SIGNIFICANT BOND

       Plaintiffs acknowledge a bond is appropriate should their motion be granted in whole or in

part. Pls. Br., ECF No. 25, at 22. Where the parties differ is as to the magnitude of the bond.



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Plaintiffs seek a mere $500.00 undertaking. Id. Courts routinely hold that a $500 undertaking is

insufficient where a defendant’s risk is greater (as here) and that a much higher undertaking is

required “to protect the defendant’s interest during the pendency of [the] action.” Von Bock v

Metro. Life Ins. Co., 223 A.D.2d 700, 700 (2d Dep’t 1996) (“$500 undertaking was inadequate”);

Hume v. 1 Prospect Park ALF, LLC, 137 A.D.3d 1080, 1081 (2d Dep’t 2016) (“the $500 bond . . .

was inadequate”). Plaintiffs’ undertaking should be in an amount equal to or greater than the

amount of the attachment—precisely, the dollar amount of funds attached at each of the Banks.

For example, if $5 million USD is attached, Plaintiffs should be required to post at least $5 million

USD.

V.     THE BANKS AND AM BANK SHOULD NOT BE JOINTLY AND SEVERALLY
       LIABLE FOR THE AMOUNT OF ANY ATTACHMENT ORDER

       Plaintiffs claim that attachment should be joint and several among the Banks and AM Bank

because they have a “successful conspiracy claim.” Pls.’ Br., ECF No. 25, at 21. As detailed in

the Banks’ motion to dismiss, Plaintiffs have failed to plead civil conspiracy as a matter of law.

See ECF No. 44, at Section II(B)(6). Under New York law, on which they appear to reply,

Plaintiffs need to show an underlying tort for a conspiracy claim. Id. Yet, they do not address

either of their two underlying torts (for fraud and conversion) in their Motion. See Pls.’ Br., ECF

No. 25, at 21. If no fraud and no conversion, there can be no conspiracy.

       Plaintiffs certainly do not proffer evidence demonstrating they are likely to prevail on their

conspiracy claim. Without any proof and relying solely on speculation, Plaintiffs allege that

“Defendants agreed to and did unlawfully refuse to allow Plaintiffs and certain other USD

depositors to transfer their USD outside Lebanon and to instead misappropriate Plaintiffs’ USD

for their own use to the exclusion of Plaintiffs.” Id. at 22 (emphasis added). Plaintiffs speculate

that “Defendants also agreed to and did make fraudulent misrepresentations . . . to carry out their



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scheme of hoarding USD in Lebanon and misappropriating Plaintiffs’ USD on deposit with the

Banks to do so.” Id. (emphasis added). They vaguely allege that “Defendants agreed to and did

pass off bad checks” and that “[a]ll of Defendants’ misconduct was intentional. Id. (emphasis

added). Plaintiffs cite no support or evidence for any of these speculations. See id. They plead

no facts demonstrating that any one defendant has ever met or corresponded with another, much

less “agreed” to carry out an elaborate international scheme against Plaintiffs, or any depositors

for that matter. Without a civil conspiracy claim, Plaintiffs’ request for joint and several

attachment should be denied.

        The primary cases that Plaintiffs rely on demonstrates just how far Plaintiffs are from the

successful conspiracy claim to support joint and several liability for an attachment. See id. at 21.

In Kashi v. Gratsos, the defendant’s status as “a member of the civil conspiracy” had already been

“proved by [plaintiff] at trial” such that he was jointly and severally with his co-conspirators for

the victim’s losses. 790 F.2d 1050, 1054 (2d Cir. 1986). Similarly, in R.B. Dev. Co., Ltd. v. Tutis

Capital LLC, there had already been multiple judgments as to conspiracy liability. 2018 WL

7076023, at *4 (E.D.N.Y. Nov. 14, 2018). Here, Plaintiffs have no such findings upon which to

rely.

        The Court should reject Plaintiffs’ request for joint and several liability should Plaintiffs’

Motion be granted (which, as discussed above, it should not be).

VI.     PLAINTIFFS’ REQUEST FOR EXPEDITED DISCOVERY SHOULD BE
        DENIED

        Plaintiffs claim they should be entitled to “limited, expedited discovery so that Plaintiffs

can discovery (sic) all of the Banks’ United States assets.” Pls.’ Br., ECF No. 25, at 24. Expedited

discovery “is available only at the district court’s sound discretion.” BlackRock, Inc. v. Schroders




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PLC, 2007 WL 1573933, at *8 (S.D.N.Y. May 30, 2007). The Court should deny Plaintiffs’

request here.

         As a threshold matter, “‘the pendency of defendants’ motions to dismiss weighs against

ordering expedited discovery.’” Oriska Ins. Co. v. Avalon Gardens Rehab. & Health Care Center,

LLC, 2018 WL 6074693, at *10, n.13 (N.D.N.Y. Nov. 21, 2018) (quoting Wilcox Indus. Corp. v.

Hansen, 279 F.R.D. 64, 72 (D.N.H. 2012) and citing OMG Fid., Inc. v. Sirius Techs., Inc., 239

F.R.D. 300, 304 (N.D.N.Y. 2006) (“The filing or the anticipated filing of such a dismissal motion

is a factor that the court may consider in ruling upon a motion for expedited discovery.”)). The

Banks’ have a pending and potentially dispositive motion to dismiss that weighs against a grant of

expedited discovery here. See ECF No. 44.

         As to the applicable standard, Plaintiffs are mistaken in their contention that the Notaro

test should not be considered in assessing their request for expedited discovery.8 To satisfy this

test, Plaintiffs must “demonstrate (1) irreparable injury, (2) some probability of success on the

merits, (3) some connection between the expedited discovery and the avoidance of the irreparable

injury, and (4) some evidence that the injury that will result without expedited discovery looms

greater than the injury that the defendant will suffer if the expedited relief is granted.” Notaro v.

Koch, 95 F.R.D. 403 (S.D.N.Y. 1982); see Jones v. U.S. Postal Service, 2020 WL 5525748, at 1

(S.D.N.Y. Sept. 15, 2020) (applying Notaro test).

8
  Plaintiffs claim the Notaro test should not apply because Plaintiffs are seeking compensatory relief, not injunctive
relief. Pls.’ Br., ECF No. 25, at n. 2. First, Plaintiffs are seeking expedited discovery for purposes of emergency non-
monetary relief—an order of attachment on property. Second, the Notaro Court was not limited to injunctive relief in
its holding or rationale. See Notaro v. Koch, 95 F.R.D. 403 (S.D.N.Y. 1982) (“[T]he court must fashion standards for
granting leave [for expedited discovery] that protect the defendant”). Today, courts are free to consider either standard
and the Notaro test is often considered. Special Situations Cayman Fund, L.P. v. Dot Com Ent. Group, Inc., 2003 WL
23350128, at n.7 (W.D.N.Y. Dec. 5, 2003) (declining to “select the appropriate standard to be applied to a request for
expedited discovery” and holding that plaintiffs’ request failed to satisfy either standard); Litwin v. OceanFreight,
Inc., 865 F. Supp. 2d 385 (S.D.N.Y. 2011) (“Courts in the Second Circuit employ two tests for determining the
propriety of an expedited discovery request”; denying request for expedited discovery under both standards); Levy v.
Young Adult Institute, Inc., 2015 WL 170442, at *11 (S.D.N.Y. Jan. 13, 2015) (“Plaintiffs have not met the burden
for expedited discovery under either of the Second Circuit standards.”).


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       Plaintiffs fail to establish any of these elements. See Pls.’ Br., ECF No. 25, at 23. First,

Plaintiffs do not satisfy the threshold irreparable injury requirement. Apart from the lack of

cognizable injury altogether, the suggestion of any risk of irreparable injury is negated by

Plaintiffs’ decision to wait months after the Banks’ rejection of their purported return of the

banker’s checks before filing the Motion. See Ex. 1, ¶¶ 19–22; Ex. 2, ¶ 32–36. Second, Plaintiffs

fail to show a probability of success on the merits of their claim as described above and in the

Banks’ motion to dismiss. See supra, Section II(B); ECF No. 44, at Section II. Third, Plaintiffs

fail to show a connection between expedited discovery and the avoidance of irreparable injury

(assuming there was irreparable injury). Finally, the balancing of harms weighs heavily against a

grant of expedited discovery. See supra, Section III.

       Even under the reasonableness standard Plaintiffs ask the Court to apply, Plaintiffs fail to

satisfy their burden. Pls.’ Br., ECF No. 25, at n.2. Plaintiffs’ only articulated basis for expedited

discovery is that they want to “ensur[e] that Defendants will not . . . evade the attachment of

Defendants’ assets in the United States.” Id. This generic statement is no different than what any

plaintiff purporting to seek monetary recovery could offer in support of an attachment motion—a

conclusory concern of evasion or lack of assets to satisfy a judgment. It is not alone a reasonable

basis for expedited discovery. See Strike 3 Holdings, LLC v. Doe, 331 F.R.D. 14, 17 (E.D.N.Y.

2019) (evaluating “‘the entirety of the record to date and the reasonableness of the request in light

of all the surrounding circumstances’”; denying motion) (quoting Ayyash v. Bank Al-Madina, 233

F.R.D. 325, 327 (S.D.N.Y. 2005) (granting motion only after finding a “substantial showing of

merit to [plaintiff’s] claims” and “strong evidentiary showing” of need for expedited discovery)).

       JP Morgan Chase Bank, N.A. v. Reijtenbagh, cited by Plaintiffs, does not advance their

cause. 615 F. Supp. 2d 278, 281–83 (S.D.N.Y. 2009). In that case, defendants pledged artwork




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as collateral on a debt, and the artwork was housed in a designated location pursuant to the parties’

pledge agreement. Id. When a state court granted an application to seize the collateral upon

defendant’s default, the artwork was missing from the contractually designated location. Id. The

court then allowed expedited discovery to help plaintiffs locate the collateral. Id. at 283. Here,

there is no specific missing asset as in Reihtenbagh that Plaintiffs are legally entitled to and that

discovery will allow Plaintiffs to pursue. Instead, Plaintiffs seek broad asset discovery on a theory

not pleaded in the Complaint, and Plaintiffs do not demonstrate legal entitlement to any property

in the Banks’ possession. See Pls.’ Br., ECF No. 25, at 23; Ex. 15, ¶ 23; Ex. 16, ¶¶ 20–22.

         Plaintiffs’ reliance on Ayyash v. Bank Al-Madina fares no better. 233 F.R.D. 325, 326

(S.D.N.Y. 2005).      There, Plaintiffs made a “strong evidentiary showing”—with specific

allegations and proof—that a trusted bank executive engaged in an elaborate scheme to siphon

money from the plaintiff’s bank over time until the bank ultimately collapsed under the fraudulent

conduct. Ayyash v. Bank Al-Madina, 2004 WL 3464721, at ¶ 22 , 25, 27, 57 (S.D.N.Y. Nov. 19,

2004).    The court granted plaintiff’s request for expedited discovery after evaluating “the

reasonableness of the request in light of all the surrounding circumstances” and finding a

“substantial showing of merit to [plaintiff’s] claims.” Ayyash, 233 F.R.D. at 327 (quotation

omitted). Here, by contrast, Plaintiffs’ allegations are entirely conclusory and contradicted, rather

than confirmed, by actual facts and there is no “substantial showing of merit” to their claims.

         These cases confirm that Plaintiffs’ assertions are insufficient to support the request for

expedited discovery under even the most lenient standard (which should not be applied in any

event). See Cecere v. County of Nassau, 258 F. Supp. 2d 184, 188 (E.D.N.Y. 2003) (“The

allegations in the complaint, without more, do not serve as a legitimate predicate for expedited




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discovery.”). Because Plaintiffs fail to make a showing that they are entitled to expedited

discovery, the request should be denied.

                                           CONCLUSION

       For the foregoing reasons, the Banks respectfully request that the Court deny Plaintiffs’

Motion in its entirety.

 DATED: New York, New York                          Respectfully submitted,
        October 9, 2020
                                                    DLA PIPER LLP (US)

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                                 CERTIFICATE OF SERVICE

        I hereby certify that I am one of the attorneys for the defendant in this action and that on

October 9, 2020, I caused a copy of the foregoing to be filed with the Court’s ECF system, which

will cause notice of its filing to be served electronically upon all counsel who have appeared in

this action.



                                              /s/ Jeffrey D. Rotenberg
                                               Jeffrey D. Rotenberg




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